
HARRIS, Presiding Judge.
The judgment of the conviction is reversed and the cause remanded for a new trial on authority of Beck v. Alabama, 447 U.S. 625, 100 S.Ct. 2382, 65 L.Ed.2d 392 (1980), on remand, Ala., 396 So.2d 645 (1981), and Ritter v. State, Ala.S.C., 403 So.2d 154 (1981), Ala.Cr.App., 403 So,2d 158 (1981). July 7, 1981, Motion for Stay of Mandate Denied by Ala.S.C.
REVERSED AND REMANDED.
All the Judges concur, except BOOK-OUT, J., who dissents for reasons stated in Cook v. State, Ms. 6 Div. 561, June 23, 1981.
